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   Exhibit G
   WANaziWatch-Scott Tweets

   Incorporated by reference in SAC ¶¶ at 12, 132, 134, 135, 136, 183




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